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         __________________________________________________________________
                                                            SO ORDERED,




                                                           Judge Neil P. Olack
                                                           United States Bankruptcy Judge
                                                           Date Signed: September 15, 2020


                       The Order of the Court is set forth below. The docket reflects the date entered.
         __________________________________________________________________

                                     IN THE UNITED STATES BANKRUPTCY COURT
                                         SOUTHERN DISTRICT OF MISSISSIPPI

IN THE MATTER OF:                                                               CASE NO.: 20-01902-NPO
BRENDA GARRETT REED
SS#: XXX-XX-6259
                                      **** AMENDED ****
                      ORDER UPON EMPLOYER DIRECTING DEDUCTIONS FROM PAY

IT APPEARING TO THE COURT that there is now pending a certain Chapter 13 Proceeding in which
the above-named DEBTOR subjected his earnings to the jurisdiction of the Court; the DEBTOR's principal
income is from wages, salary of commissions; and that the employer of the said DEBTOR is subject to such
orders as may be requisite to effectuate the provisions of the plan proposed by the DEBTOR {with the employer
being directed to pay all or any part of such income to theTRUSTEE.
Bankruptcy Reform Act of 1978, Title 11, Section 1325 (b)}.

IT IS FURTHER APPEARING THAT it is requisite to effectuate the provisions of the DEBTOR's plan; that
the employer is directed to pay a portion of the DEBTOR's earnings to the Court for distribution to creditors
and that such employer is:

PROMISE HEALTHCARE
2100 HWY 61 N
VICKSBURG, MS 39183


IT IS ORDERED that until further notice of this Court, the above-named employer is required to deduct from
the DEBTOR's earnings and pay over to:
                                            Harold J. Barkley,Jr.
                                            Chapter 13 Trustee
                                            P.O. Box 321454
                                            Flowood, MS 39232


the sum of $512.00 MONTHLY .

FURTHER ORDERED, that the employer shall, as of this date, cease and discontinue to pay deductions,
including credit unions, of every kind except those required to be made for State or Federal Income Taxes,
Insurance, Social Security contributions or union dues.

                                            ##END OF ORDER##
